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     UNITED STATES DISTRICT COURT
     FOR THE DISTRICT OF RHODE ISLAND

     DOLORES CEPEDA

           VS                                      C.A.2019-CV-5

     BANK OF AMERICA, N.A.
     FAY SERVICING, LLC
     WILMINGTON TRUST NATIONAL ASSOCIATION
     SOLEY AS TRUSTEE FOR THE MFRA TRUST 2014-2 , ALIAS


         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
       ALTER/AMEND JUDGMENT FOR BANK OF AMERICA ON ITS
                      MOTION TO DISMISS


            This Court dismissed Plaintiff’s complaint filed pursuant to the Real

     Estate Settlement and Procedures Act. Plaintiff referenced several Notices of

     Error and demanded Judgment due to Bank of America failing to correct

     errors by not providing documents which were the subject of Requests for

     Information pursuant to 12 CFR 1024.36. Subsequently Plaintiff, through

     her attorney mailed Notices of Error, dated October 29, 2018 pursuant to 12

     CFR 1024.35. These Regulations are referred to as Regulation X, which

     can be enforced by a party for the failure of the loan servicer to provide the

     information requested. The Borrower begins the process by mailing a

     request for information to the loan servicer, which has 5 business days to

     acknowledge receipt and thirty business days to respond to the Request for


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     Information. If the servicer does not provide the information, the servicer

     must acknowledge receipt within five business days and has thirty business

     days to respond to the Notice of Error. Regulation X, section 1024.35

     indicates the duty of the loan servicer:

     (e) Response to notice of error -
       (1) Investigation and response requirements -
         (i) In general. Except as provided in paragraphs (f) and (g) of this
         section, a servicer must respond to a notice of error by either:
           (A) Correcting the error or errors identified by the borrower and
           providing the borrower with a written notification of the correction,
           the effective date of the correction, and contact information, including
           a telephone number, for further assistance; or
           (B) Conducting a reasonable investigation and providing the borrower
           with a written notification that includes a statement that
           the servicer has determined that no error occurred, a statement of the
           reason or reasons for this determination, a statement of the borrower's
           right to request documents relied upon by the servicer in reaching its
           determination, information regarding how the borrower can request
           such documents, and contact information, including a telephone
           number, for further assistance.


     If the servicer does not comply with its duties then 12 U.S. C. 2605(f)

     provides for a private right of action for the borrower:

     (f)DAMAGES AND COSTSWhoever fails to comply with any provision of this
     section shall be liable to the borrower for each such failure in the following
     amounts:
     (1)INDIVIDUALSIn the case of any action by an individual, an amount equal
     to the sum of—
     (A)
     any actual damages to the borrower as a result of the failure; and

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     (B)
     any additional damages, as the court may allow, in the case of a
     pattern or practice of noncompliance with the requirements of this
     section, in an amount not to exceed $2,000.


     This Court dismissed the RESPA Count by holding that the complaint did

     not state a claim because the Notices of Error requested information which

     had not been provided or which was unduly burdensome to provide. A

     review of the Notices of Error indicate that the Court committed manifest

     error by accepting the assertions of the Defendant in its reply Memorandum

     and did not accept as true the factual allegations in the complaint.

           In FDIC v. World University, Inc. 978 F.2d 10, 16 (1st Cir.1992), the

     First Circuit defined the basis for Motions for reconsideration pursuant to

     Rule 59:


     Rule 59(e) motions are "aimed at reconsideration, not initial consideration."
     Harley-Davidson Motor Co., Inc. v. Bank of New England, 897 F.2d 611,
     616 (1st Cir.1990) (citing White v. New Hampshire Dept. of Employment
     Sec., 455 U.S. 445, 451, 102 S.Ct. 1162, 1166, 71 L.Ed.2d 325 (1982))
     (emphasis in original). Thus, parties should not use them to "raise arguments
     which could, and should, have been made before judgment issued." Id.
     (quoting Federal Deposit Ins. Corp. v. Meyer, 781 F.2d 1260, 1268 (7th
     Cir.1986)). Motions under Rule 59(e) must either clearly establish a
     manifest error of law or must present newly discovered evidence. Meyer,
     781 F.2d at 1268. They may not be used to argue a new legal theory. Id.

     F.R.C.P. 59(e) permits a party to file a Motion to Amend or Alter the




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      Judgment within 28 days of the Entry of the Judgment. This Motion has

      been timely filed. To avoid Manifest Error and to address issues raised but

      not referenced by the Court in its decision, in order to clarify the decision the

      Plaintiff has filed this Motion.

            This Court in the Order dismissing this case pursuant to FRCP

      12(b)(6) held that the Notices of Error were not plausibly pleaded and that

      the information sought by the Plaintiff was duplicative. However a review of

      each Notice of Error and the pleadings in regard to each did not seek

      duplicative information. In the first notice of error referenced in paragraph

      149 of the complaint, Plaintiff alleged that Bank of America had committed

      an error by failing to correct an error and provide the contractual status of

      the mortgage loan when Bank of America, California, N.A. transferred

      ownership of the mortgage loan. This particular Notice of Error asserted

      the following specific and distinct Notice of Error:

      The consumer in this case believes that you committed an error by not
      responding to a Request for Information within thirty business days of
      receipt. You received a Request for Information on December 12, 2017
      and have not provided the information requested. This Request for
      Information requested the following information:

       With respect to the receipt of all periodic payments of principal,
      interest and escrow, what was the contractual status of the consumer’s
      mortgage loan when Bank of America, NA as Creditor for Bank of
      America, California, N.A. transferred ownership of this mortgage loan,
      including all documents on which you relied on to provide this
      information.
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      When you responded by letter dated January 12, 2018 and received on
      January 20, 2018, you declined to respond, stating:

      Certain requests described in your correspondence constitutes a valid
      qualified written request(QWR) under the Real Estate Settlement and
      Procedures Act (RESPA) and will be addressed in accordance with RESPA
      guidelines.

      However you then did not provide any of the information requested in
      the Request for Information and did not provide any of this
      information, but merely referenced a Loan Transaction History
      Spreadsheet and ignored the Request for Information. No information
      was provided in response to the following information:

      With respect to the receipt of all periodic payments of principal, interest
      and escrow, what was the contractual status of the consumer’s
      mortgage loan when Bank of America, NA as Creditor for Bank of
      America, California, N.A. transferred ownership of this mortgage loan,
      including all documents on which you relied on to provide this
      information.

      This information was not provided and Bank of America did not provide any

      documents as requested. Plaintiff made the following allegations regarding

      this Notice of Error, which are deemed to be true for purposes of a Motion to

      Dismiss:

      149. The Plaintiff’s Notice of Error referenced failure to correct an error by
      which Defendant had failed to provide the contractual status of the mortgage
      loan when Bank of America, California, N.A. transferred ownership of
      the mortgage loan. (emphasis added) . . .

      152. It refused to correct the information and correct the error. It merely
      made a generic response restating its previous failure to provide the
      documents requested and incorporated the prior response that the documents
      requested did not need to be provided alleging the following:


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      We determined a number of the requests for information and documentation
      relating to the loan fit within one or more exceptions under 12 C.F.R.
      1024.36.

      153. It refused to provide the documents stating alternatively without any
      supporting basis that the documents requested were either:
      Overbroad
      Sought an unreasonable volume of documents or information.
      Were irrelevant to the borrower’s loan
      Sought confidential, privileged or proprietary information
      Sought information which was not in its control or possession or that cannot
      be retrieved in the ordinary course of business through reasonable efforts

      154. A copy of its response is attached as Exhibit F-1.

      155. Bank of America made no reasonable effort to correct the error and
      merely recited the Regulation promulgated under the Dodd Frank Act.

      156. Its response was nonresponsive to the Notice of Error.

      157. This Request for Information did not seek documents which were
      excepted from production.

      158. The information sought in this request for information did not seek
      information which was overbroad.

      159. The request was for a single request and was not overly broad.

      160. The information sought in this request for information did not seek
      information which constituted an unreasonable volume of documents or
      information.

      161. The request was for a single item and did not constitute an
      unreasonable volume of documents.

      162. The information sought in this request for information did not seek
      information which was irrelevant to the borrower’s loan.

      163. The information sought in this request for information did not seek
      information which was confidential.
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      164. The information sought in this request for information did not seek
      information which was proprietary.

      165. The information sought in this request for information did not seek
      information which was not in its control or possession or that cannot be
      retrieved in the ordinary course of business through reasonable efforts

      166. The Defendant had the ability to access this information which
      remained on its electronic system of record or on its archives.

      167. The Defendant transmitted this information to the successor servicer,
      Fay and retained access to the information.

      168. The Defendant has exhibited a pattern and practice of failing to comply
      with the Regulations as it failed to respond to or correct the error as
      indicated in this complaint and in other responses to Notices of Error.

      169. Its general practice is to failure to provide any documents and to ignore
      Notices of Error by reciting generic reasons for not providing documents and
      to merely recite the regulation without responding to the Notice of Error.

            A review of this Notice of Error, referenced as Exhbit F the response

      of Bank of America and this Court’s analysis of this response indicates that

      the Court committed an error in its analysis. The question asked of Bank of

      America was to provide the contractual status of the mortgage loan when

      Bank of America, California, N.A. transferred ownership of the mortgage

      loan. The Request for Information did not seek the status of the loan when

      servicing was transferred as the Court determined. This Notice of Error did

      not seek any information about the status when Bank of America transferred

      servicing to Fay, different time frame and the pleadings specifically


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      addressed this failure. The granting of the Motion to dismiss was manifest

      error because e the information in the Request for Information was not

      duplicative, because Bank of America never provided the information

      requested nor provided the documents which indicated the status of the

      mortgage loan when the ownership transferred from Bank of America,

      California, N.A., which was not the originator of the mortgage loan. Bank of

      America did not comply with its duties pursuant to 1024.35 and just ignored

      this Notice of Error, repeating a generic reference to the exception portion of

      the Regulation.

            The second Notice of Error was referenced as Exhibit G and alleged

      the error at paragraph 178 in which the Plaintiff alleged that Bank of

      America had failure to correct an error by which Defendant had failed to

      provide the Plaintiff all documents transferred to the new loan servicer,

      including the servicing file. This Notice of Error asserted an error in failing

      to provide the following documents:

             All documents, electronic documents, collection notes and
      servicing notes in the loan servicing file, which relate to the servicing of
      the consumer’s mortgage loan from origination to the time that you
      transferred servicing. Please provide all such documents on your
      electronic system of record
             You also committed error by not providing documents from your
      system of record and by refusing to comply with a a reasonable request
      for all documents transferred at servicing to the new servicer.



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            You also committed an error by making a generic response,
      refusing to provide this information stating:

            A servicer is also not required to respond to requests for
      information to a borrower’s loan that seek confidential, privileged or
      proprietary information. In addition, a servicer is not required to
      provide a Borrower with information that is not in the servicer’s control
      or possession or that cannot be retrieved in the ordinary course of
      business through reasonable efforts.

             This generic response merely recites regulatory exemptions
      without making any effort to provide the documents requested, which
      are available in your archives, accessible by a keystroke of your
      computer system and are neither confidential, privileged nor
      proprietary. Thus you have committed error failing to make a good
      faith effort to respond to the Request for Information.


            Plaintiff also made the following allegations, which are deemed to be

      true for purposes of a Motion to Dismiss:

      180. Defendant did not correct the error within thirty business days. It
      responded by letter dated November 2, 2018 in which it failed to correct the
      error and refused to provide the information requested.

      181. It refused to correct the information and correct the error. It merely
      made a generic response restating its previous failure to provide the
      documents requested and incorporated the prior response that the documents
      requested did not need to be provided alleging the following:

      We determined a number of the requests for information and documentation
      relating to the loan fit within one or more exceptions under 12 C.F.R.
      1024.36.

      182. It refused to provide the documents stating alternatively without any
      supporting basis that the documents requested were either:

      Overbroad
      Sought an unreasonable volume of documents or information.
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      Were irrelevant to the borrower’s loan
      Sought confidential, privileged or proprietary information
      Sought information which was not in its control or possession or that cannot
      be retrieved in the ordinary course of business through reasonable efforts
      (emphasis added)

      183. A copy of its response is attached as Exhibit F-1.

      184. Bank of America made no reasonable effort to correct the error and
      merely recited the Regulation promulgated under the Dodd Frank Act.

      185. This Request for Information did not seek documents which were
      excepted from production.

      186. The information sought in this request for information did not seek
      information which was overbroad.

      187. The request was for a single request and was not overly broad.
      \
      188. The information sought in this request for information did not seek
      information which constituted an unreasonable volume of documents or
      information.

      189. The request was for the file transferred at servicing to Fay Servicing
      and did not constitute an unreasonable volume of documents.

      190. The information sought in this request for information did not seek
      information which was irrelevant to the borrower’s loan.

      191. The information sought in this request for information did not seek
      information which was confidential.

      192. The information sought in this request for information did not seek
      information which was proprietary.

      193. The information sought in this request for information did not seek
      information which was not in its control or possession or that cannot be
      retrieved in the ordinary course of business through reasonable efforts



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      194. The Defendant had the ability to access this information which
      remained on its electronic system of record or on its archives.

      195. The Defendant transmitted this information to the successor
      servicer, Fay and retained access to the information.

      196. The Defendant has exhibited a pattern and practice of failing to comply
      with the Regulations as it failed to respond to or correct the error as
      indicated in this complaint and in other responses to Notices of Error.


      197. Its general practice is to fail to provide any documents and to ignore
      Notices of Error by reciting generic reasons for not providing documents and
      to merely recite the regulation without responding to the Notice of Error.


      Bank of America did not deny these allegations since the complaint was not

      answered. Instead in its reply to Plaintiff’s Response to the Motion to

      Dismiss, it for the first time stated falsely that “Plaintiff does not allege that

      the Servicing File was not sent as stated in that letter”. However paragraph

      182 of the complaint specifically alleges:

      . It refused to provide the documents

      The Court committed manifest error by making a factual determination that

      the documents requested had already been provided and that the Notice of

      Error sought duplicative information. However the allegation in the

      complaint suggested that those documents had not been provided. The

      servicing file pursuant to 12 CFR 1024.38 defines the servicing file and the

      procedures required of servicers:


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      2) Servicing file. A servicer shall maintain the following documents and

      data on each mortgage loan account serviced by the servicer in a manner that

      facilitates compiling such documents and data into a servicing file within

      five days:

      (i) A schedule of all transactions credited or debited to the mortgage loan
      account, including any escrow account as defined in § 1024.17(b) and any
      suspense account;
      (ii) A copy of the security instrument that establishes the lien securing the
      mortgage loan;
      (iii) Any notes created by servicer personnel reflecting communications with
      the borrower about the mortgage loan account;
      (iv) To the extent applicable, a report of the data fields relating to the
      borrower's mortgage loan account created by the servicer's electronic
      systems in connection with servicing practices; and
      (v) Copies of any information or documents provided by the borrower to the

      servicer in accordance with the procedures set forth in § 1024.35 or

      § 1024.41.

      Plaintiff alleged that the servicing file had not been provided. In fact ,Bank

      of America admitted that it had not provided the entire servicing file when it

      stated in its January 18, 2018 letter when it refused to provide any

      documents contained in its servicing file prior to January 1, 2014:

      Please be aware that records prior to January 1, 2014 will not be furnished as
      we have provided all information that is available or required to comply
      with a Request for Information as defined under 2013 Real Estate Settlement
      Procedures Act (Regulation X).


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      However the regulation came into effect on January 14, 2010 and does not

      indicate that a servicer does not have to provide information prior to that

      date. The Consumer Financial Protection Bureau commentary to the

      Regulation merely states that for payments made prior to January 10, 2014,

      a loan servicer was not required to maintain information in particular

      manner in the manner set forth in § 1024.38(c)(2) :

      Timing. A servicer complies with § 1024.38(c)(2) if it maintains
      information in a manner that facilitates compliance with § 1024.38(c)(2)
      beginning on or after January 10, 2014. A servicer is not required to comply
      with § 1024.38(c)(2) with respect to information created prior to January 10,
      2014. For example, if a mortgage loan was originated on January 1, 2013, a
      servicer is not required by § 1024.38(c)(2) to maintain information regarding
      transactions credited or debited to that mortgage loan account in any
      particular manner for payments made prior to January 10, 2014.
      However, for payments made on or after January 10, 2014, a servicer must
      maintain such information in a manner that facilitates compiling such
      information into a servicing file within five days. (emphasis added)


      The Plaintiff alleged in a complaint that the servicing file was not provided

      and that this request was not duplicative. The original response to the

      Request for Information did not assert that the information was duplicative.

      The servicing file includes notes of servicer personnel, which Plaintiff

      alleged were not provided to the Plaintiff. Thus this request was not

      duplicative and the Motion to Dismiss should not have been granted as to

      this Notice of Error.



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            The third Notice of Error was referenced as Exhibit H and alleged the

      error at paragraph 206 in which the Plaintiff alleged that Bank of America

      had failure to correct an error by which Defendant had failed to provide the

      Plaintiff information relating to the status of the Plaintiff’s mortgage loan in

      regard to periodic payments of principal, interest and escrow when Bank of

      America, N.A. transferred ownership of the mortgage loan, including all

      documents on which it relied to provide this information. This loan

      originated with Bank of America, N.A. However in its response to a Request

      for Information regarding the owner of the mortgage loan, Bank of America

      identified the owner of the mortgage loan as Bank of America, California,

      N.A., a different entity. Plaintiff also alleged the following assertions which

      are deemed to be true for purposes of a Motion to Dismiss:

      209. It refused to correct the information and correct the error. It merely
      made a generic response restating its previous failure to provide the
      documents requested and incorporated the prior response that the documents
      requested did not need to be provided alleging the following:

      We determined a number of the requests for information and documentation
      relating to the loan fit within one or more exceptions under 12 C.F.R.
      1024.36.

      210. It refused to provide the documents stating alternatively without any
      supporting basis that the documents requested were either:

      Overbroad
      Sought an unreasonable volume of documents or information.
      Were irrelevant to the borrower’s loan
      Sought confidential, privileged or proprietary information
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      Sought information which was not in its control or possession or that cannot
      be retrieved in the ordinary course of business through reasonable efforts

      211. A copy of its response is attached as Exhibit F-1.

      212. Bank of America made no reasonable effort to correct the error and
      merely recited the Regulation promulgated under the Dodd Frank Act.

      213. Its response was nonresponsive to the Notice of Error.

      214. This Request for Information did not seek documents which were
      excepted from production.

      215. The information sought in this request for information did not seek
      information which was overbroad.

      216. The request was for a single request and was not overly broad.

      217. The information sought in this request for information did not seek
      information which constituted an unreasonable volume of documents or
      information.

      218. The request was for a single request and did not constitute an
      unreasonable volume of documents.

      219. The information sought in this request for information did not seek
      information which was irrelevant to the borrower’s loan.

      220. The information sought in this request for information did not seek
      information which was confidential.

      221. The information sought in this request for information did not seek
      information which was proprietary.

      222. The information sought in this request for information did not seek
      information which was not in its control or possession or that cannot be
      retrieved in the ordinary course of business through reasonable efforts.

      223. The Defendant had the ability to access this information which
      remained on its electronic system of record or on its archives.
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      224. The Defendant transmitted this information to the successor servicer,
      Fay and retained access to the information.

      225. The Defendant has exhibited a pattern and practice of failing to comply
      with the Regulations as it failed to respond to or correct the error as
      indicated in this complaint and in other responses to Notices of Error.


      226. Its general practice is to fail to provide any documents and to ignore
      Notices of Error by reciting generic reasons for not providing documents and
      to merely recite the regulation without responding to the Notice of Error.


            Thus the same generic response was made to the Request for

      Information and the Notice of Error. Bank of America in its reply, not its

      Motion to dismiss, asserted that this information had been provided

      referencing the status of the mortgage loan when servicing was

      transferred. This information was not sought in the Request for

      Information and the Notice of Error did not seek this information, but

      information which was not provided in the January 12, 2018 letter or at any

      other time. Thus the Court committed manifest error by making a factual

      determination that the Plaintiff made a duplicative request, when in fact this

      Notice of Error referenced the failure to provide distinctly different

      information.

            The fourth Notice of Error was attached as Exhibit I and referenced

      failure to correct an error by which Defendant had failed to provide the


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      Plaintiff information relating to the status of the Plaintiff’s mortgage loan in

      regard to periodic payments of principal, interest and escrow when Bank of

      America, N.A. as creditor for Bank of America California, N.A.

      obtained ownership of the mortgage loan, including all documents on

      which it relied to provide this information.

      Once again Bank of America had made the same generic response to this

      Request for Information and in its Reply, not its Motion to Dismiss,

      conflated this as a duplicative request for information relating to the time

      frame when Bank of America transferred the servicing of the mortgage loan

      to Fay Servicing. However this was not the request, which attached a letter

      from Bank of America, dated August 14, 2017 in which Bank of America

      stated that the “Investor” was Bank of America, N.A. as Creditor on behalf

      of Bank of America California N.A, a different time than the date servicing

      was transferred to Fay. The Notice of Error asserted the following error:

      The consumer in this case believes that you committed an error by not
      responding to a Request for Information within thirty business days of
      receipt. You received a Request for Information on December 12, 2017
      and have not provided the information requested. This Request for
      Information requested the following information:

       With respect to the receipt of all periodic payments of principal,
      interest and escrow, what was the contractual status of the consumer’s
      mortgage loan when Bank of America, NA as Creditor for Bank of
      America, California, N.A. obtained ownership of this mortgage loan,
      including all documents on which you relied on to provide this
      information.
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      When you responded by letter dated January 12, 2018 and received on
      January 20, 2018, you declined to respond, stating:

      Certain requests described in your correspondence constitutes a valid
      qualified written request(QWR) under the Real Estate Settlement and
      Procedures Act (RESPA) and will be addressed in accordance with RESPA
      guidelines.

      However you then did not provide any of the information requested in
      the Request for Information and did not provide any of this
      information, but merely referenced a Loan Transaction History
      Spreadsheet and ignored the Request for Information. No information
      was provided in response to the following information:

      With respect to the receipt of all periodic payments of principal, interest
      and escrow, what was the contractual status of the consumer’s
      mortgage loan when Bank of America, NA as Creditor for Bank of
      America, California, N.A. obtained ownership of this mortgage loan,
      including all documents on which you relied on to provide this
      information.

      You committed error by refusing to provide information relating to the
      status of the mortgage loan when Bank of America, NA as Creditor for
      Bank of America, California, N.A. obtained ownership of the mortgage
      loan. You committed error in your response by treating this Request for
      Information as a request for the status at the time that Bank of America,
      N.A. with no reference as Creditor for Bank of America, California,
      N.A. obtained ownership of the mortgage loan.


            This Notice of Error did not make any reference to documents

      transferred at servicing and did not seek the information which Bank of

      America claims was duplicative. The Plaintiff also the same factual

      allegations in regard to this Notice of Error which are deemed to be true for



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      purposes of a Motion to Dismiss as it had in each Notice of Error referenced

      in the complaint in paragraphs 237-255:

      237. Defendant did not correct the error within thirty business days. It
      responded by letter dated November 2, 2018 in which it failed to correct the
      error and refused to provide the information requested.

      238. It refused to correct the information and correct the error. It merely
      made a generic response restating its previous failure to provide the
      documents requested and incorporated the prior response that the documents
      requested did not need to be provided alleging the following:

      We determined a number of the requests for information and documentation
      relating to the loan fit within one or more exceptions under 12 C.F.R.
      1024.36.

      239. It refused to provide the documents stating alternatively without any
      supporting basis that the documents requested were either:

      Overbroad
      Sought an unreasonable volume of documents or information.
      Were irrelevant to the borrower’s loan
      Sought confidential, privileged or proprietary information
      Sought information which was not in its control or possession or that cannot
      be retrieved in the ordinary course of business through reasonable efforts

      240. A copy of its response is attached as Exhibit F-1.

      241. Bank of America made no reasonable effort to correct the error and
      merely recited the Regulation promulgated under the Dodd Frank Act.

      242. Its response was nonresponsive to the Notice of Error.

      243. This Request for Information did not seek documents which were
      excepted from production.

      244. The information sought in this request for information did not seek
      information which was overbroad.


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      245. The request was for a single request and was not overly broad.

      246. The information sought in this request for information did not seek
      information which constituted an unreasonable volume of documents or
      information.

      247. The request was for a single request and did not constitute an
      unreasonable volume of documents.

      248. The information sought in this request for information did not seek
      information which was irrelevant to the borrower’s loan.

      249. The information sought in this request for information did not seek
      information which was confidential.

      250. The information sought in this request for information did not seek
      information which was proprietary.

      251. The information sought in this request for information did not seek
      information which was not in its control or possession or that cannot be
      retrieved in the ordinary course of business through reasonable efforts

      252. The Defendant had the ability to access this information which
      remained on its electronic system of record or on its archives.

      253. The Defendant transmitted this information to the successor servicer,
      Fay and retained access to the information.

      254. The Defendant has exhibited a pattern and practice of failing to comply
      with the Regulations as it failed to respond to or correct the error as
      indicated in this complaint and in other responses to Notices of Error.


      255. Its general practice is to fail to provide any documents and to ignore
      Notices of Error by reciting generic reasons for not providing documents and
      to merely recite the regulation without responding to the Notice of Error.

      The Court thus committed manifest error by making a factual determination

      that Notice of Error asserted that Bank of America had not provided
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      information, which it had already provided. However this information was

      not duplicative and had never been provided to Plaintiff.

            The Fifth Notice of Error referenced as Exhibit J referenced Bank of

      America’s failure to correct an error by which Defendant had failed to

      provide the Plaintiff the identity of the master servicer of the mortgage

      loan and had failed to provide the identity of the owner of the mortgage loan

      by merely stating that the owner/investor of the mortgage loan was Bank of

      America, N.A. as Creditor on behalf of Bank of America, California, N.A.

      This Notice of Error asserted the following error:

      The consumer in this case believes that you did not provide a borrower
      within ten business days the following information pursuant to Section
      1024.36(d):
      1. The identity of and address for the current owner of the mortgage
      loan identified herein.
      2. The identity of and address for the master servicer of the mortgage
      loan identified herein.

      You received this request on August 10, 2017. When you did respond
      by a letter dated August 14, 2017, you failed to provide the identity and
      address of the master
      servicer.
      You also failed to provide the owner of the mortgage loan as your letter
      merely identified the owner/investor of the mortgage loan as Bank of
      America, N.A as Creditor on behalf of Bank of America, California,
      N.A.. You must provide the owner, not the investor.


      Bank of America in its reply, not its Motion to Dismiss, again sought to

      conflate the issue by referencing the servicing transfer information


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      previously provided. It also failed to provide the identity of the Master

      Servicer, which is required to be provided. It also refused to provide the

      owner, not the investor as to which there was a distinction based on the

      documents sent to the Plaintiff. The Plaintiff made the same allegations as it

      had regarding the previous Notices of Error in paragraphs 266-284, which

      are deemed to be true for purposes of this Motion to Dismiss.

            This Court committed manifest error by making a factual

      determination that the Defendant correctly stated that the Request for

      Information sought duplicative information despite the fact that the identify

      of the Master Servicer was not provided and there was no distinction made

      between Owner of the Loan and Investor of the Loan. The Court did not

      address the fact that the identity of the Master Servicer was not provided and

      did not deem true the allegations of the complaint.

                   The Plaintiff’s sixth notice of Error was referenced as Exhibit K

      which alleged the error in paragraph 295 of failing to correct an error by

      which Defendant had failed to provide the Plaintiff all periodic statements

      which were prepared for the mortgage loan account. Defendant, in its reply,

      not its motion, asserted that Bank of America reasonably determined that

      this Request was overbroad and unduly burdensome and duplicative of the

      servicing file and transaction history. However Plaintiff made certain


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      allegations in the complaint which disputed this assertion by the Defendant

      at paragraphs which are deemed to be true for the purpose of this Motion:

      302. Bank of America made no reasonable effort to correct the error and
      merely recited the Regulation promulgated under the Dodd Frank Act.

      303. Its response was nonresponsive to the Notice of Error.

      304. This Request for Information did not seek documents which were
      excepted from production.

      305. The information sought in this request for information did not seek
      information which was overbroad.

      306. The request was for a single request and was not overly broad.

      307. The information sought in this request for information did not seek
      information which constituted an unreasonable volume of documents or
      information.

      308. The request was for a single request and did not constitute an
      unreasonable volume of documents.

      309. The information sought in this request for information did not seek
      information which was irrelevant to the borrower’s loan.

      310. The information sought in this request for information did not seek
      information which was confidential.

      311. The information sought in this request for information did not seek
      information which was proprietary.

      312. The information sought in this request for information did not seek
      information which was not in its control or possession or that cannot be
      retrieved in the ordinary course of business through reasonable efforts.

      313. The Defendant had the ability to access this information which
      remained on its electronic system of record or on its archives.


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      The Court committed manifest error by making a factual determination in a

      Motion to Dismiss that it was too burdensome for the Plaintiff to

      erroneously accepted the argument of the Defendant that it was too

      burdensome to provide the periodic statements, which Plaintiff alleged were

      readily available on its electronic system and could be retrieved in the

      ordinary course of business, through reasonable efforts. 12 CFR 1024-36

      provides an exemption provided the following applies:

      (iv) Overbroad or unduly burdensome information request. The
      information request is overbroad or unduly burdensome. An information
      request is overbroad if a borrower requests that the servicer provide an
      unreasonable volume of documents or information to a borrower. An
      information request is unduly burdensome if a diligent servicer could not
      respond to the information request without either exceeding the maximum
      time limit permitted by paragraph (d)(2) of this section or incurring costs (or
      dedicating resources) that would be unreasonable in light of the
      circumstances. To the extent a servicer can reasonably identify a valid
      information request in a submission that is otherwise overbroad or unduly
      burdensome, the servicer shall comply with the requirements of paragraphs
      (c) and (d) of this section with respect to that requested information.

      The regulation allows the servicer not to provide the documents if the time

      to provide them exceeded 45 business days. In this case, Bank of America

      responded by suggesting that it was too burdensome to produce these

      documents in a time frame of less than thirty days and ignored its

      responsibilities under Regulation X.

       The official comment of the Consumer Financial Protection Bureau 36

      explains which documents are overly burdensome:
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      1. Examples of overbroad or unduly burdensome requests for
      information. The following are examples of requests for information that
      are overbroad or unduly burdensome:
      i. Requests for information that seek documents relating to substantially all
      aspects of mortgage origination, mortgage servicing, mortgage sale or
      securitization, and foreclosure, including, for example, requests for all
      mortgage loan file documents, recorded mortgage instruments, servicing
      information and documents, and sale or securitization information and
      documents;
      ii. Requests for information that are not reasonably understandable or are
      included with voluminous tangential discussion or assertions of errors;
      iii. Requests for information that purport to require servicers to provide
      information in specific formats, such as in a transcript, letter form in a
      columnar format, or spreadsheet, when such information is not ordinarily
      stored in such format; and
      iv. Requests for information that are not reasonably likely to assist a
      borrower with the borrower's account, including, for example, a request for
      copies of the front and back of all physical payment instruments (such as
      checks, drafts, or wire transfer confirmations) that show payments made by
      the borrower to the servicer and payments made by a servicer to an owner or
      assignee of a mortgage loan.
      The periodic statements requested did not fall in any of these categories.
      Thus there was a factual question as to the extent of the burdensome nature

      of providing these documents, which could not be resolved in a Motion to

      Dismiss.

            The seventh Notice of Error pleaded in this complaint was Exhibit L,

      which asserted the failure of the Defendant to provide the servicing file. This

      Notice of Error asserted the error in this manner:

      The consumer requests that you provide the consumer the entire
      mortgage loan servicing file including all servicing notes, records of all
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      phone calls made to the consumer, collection notes, recordings of all
      phone calls any loan servicer or any agent acting on its behalf made to
      the consumer or to the consumer’s attorney, and any calls from the
      consumer or the consumer’s attorney to any loan servicer or its agent
      which were recorded and all loss mitigation documents sent to any loan
      servicer by the consumer and all loss mitigation responses sent from you
      to the consumer at any time since you obtained servicing rights to the
      present.


            The Plaintiff’s Notice of Error referenced failure to correct an error by

      which Defendant had failed to provide the servicing file for the mortgage

      loan account. The Notice of Error asserted the following errors:

      The consumer in this case believes that you committed an error by not
      responding to a Request for Information within thirty business days of
      receipt. You received a Request for Information on October 15, 2018
      and have not acknowledged receipt. This Request for for Information
      requested the following information:

       The consumer requests that you provide the consumer the entire
      mortgage loan servicing file including all servicing notes, records of all
      phone calls made to the consumer, collection notes, recordings of all
      phone calls any loan servicer or any agent acting on its behalf made to
      the consumer or to the consumer’s attorney, and any calls from the
      consumer or the consumer’s attorney to any loan servicer or its agent
      which were recorded and all loss mitigation documents sent to any loan
      servicer by the consumer and all loss mitigation responses sent from you
      to the consumer at any time since you obtained servicing rights to the
      present.


      This request for information is somewhat different than Exhibit G, the

      second Notice of Error. It requested items, including service notes, records

      of all phone calls made to the consumer, collection notes, recordings of all


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      phone calls along with all loss mitigation requests sent by the consumer and

      Bank of America’s responses. As alleged in the complaint, none of these

      documents were ever provided. The loss mitigation documents made this

      somewhat more comprehensive than the second Notice of Error. Bank of

      America did not provide any of these documents and asserted in its Reply,

      not Motion that this Request was duplicative and could not be the subject of

      a Notice of Error.

             The standard of the First Circuit precludes this Motion to Dismiss.

      The First Circuit has interpreted the holding of the United States Supreme

      Court in Ashcroft v. Iqbal, 129 S.Ct. 1937 (2009) for analysis of FRCP

      12(b)(6) motions. The Supreme Court in Iqbal hadstated:


            To survive a motion to dismiss, a complaint must contain
            sufficient factual matter, accepted as true, to "state a claim to
            relief that is plausible on its face." Id., at 570,127 S.Ct. 1955. A
            claim has facial plausibility when the plaintiff pleads factual
            content that allows the court to draw the reasonable inference
            that the defendant is liable for the misconduct alleged. Id., at
            556, 127 S.Ct. 1955. The plausibility standard is not akin to a
            "probability requirement," but it asks for more than a sheer
            possibility that a defendant has acted unlawfully.
            The First Circuit in Rodriguez-Vives v. Puerto Rico Firefighters
            (1stCir.,

            January 8, 2014) held:


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            We emphasize that this case is on appeal of a 12(b)(6)motion,
            not a motion for summary judgment. HN12"Although a
            plaintiff must plead enough facts to make entitlement to relief
            plausible in light of the evidentiary standard that will pertain at
            trial . . . she need not plead facts sufficient to establish a prima
            facie case." Rodríguez-Reyes v. Molina-Rodríguez, 711 F.3d
            49, 54(1st Cir. 2013).

            The First Circuit thus confirmed that even if a Plaintiff makes a

            specific factual allegation, that merely lacks some surrounding

            context, the claim will be sufficient to survive a motion to

            dismiss.

                  Thus for purposes of the Motion, all factual allegations in

            Plaintiff’s complaint must be accepted by the Court as true. The

            Court also reiterated the principle that the First Circuit had

            previously stated in similar principles

            in Rodríguez-Reyes v. Molina-Rodríguez, 711 F.3d 49, 54 (1st
            Cir. 2013):

            The prima facie case is an evidentiary model, not a pleading
            standard. For this reason, the interaction between the prima
            facie case and the plausibility standard crafted by the [**2]
            Supreme Court in Bell Atlantic Corp. v.
            Twombly, created some confusion. We now resolve that
            confusion and hold that the prima facie case is not the
            appropriate benchmark for determining whether a complaint
            has crossed the plausibility threshold.
            Accordingly, that aspect of the district court's decision must be
            annulled and the case remanded for further proceedings.



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            The Plaintiff had requested that the Motion to Dismiss should have

      been denied and in the alternative the Plaintiff should have been provided an

      opportunity to amend his complaint, which the Court did not address. This

      Court in denying the Motion to Amend on the issue of compliance with the

      terms of the mortgage commited manifest error by ignoring the provisions of

      Federal case law which requires liberal right to file an amended complaint

      pursuant to Fed. R. Civ P. 15.

            The First Circuit has defined the standard for amendment of pleadings

      in Torres-Alamo v. Pureto, 502 F. 3d 20 (1st Cir., 2007). In Torres-Alamo

      the Court held:

      When, as here, a motion to amend is entered before formal entry of
      judgment, the district court should evaluate the motion under the "liberal
      standard of Fed. R.Civ.P. 15(a)." Palmer, 465 F.3d at 30. Under this
      standard, "[a]mendments may be permitted pre-judgment, even after a
      dismissal for failure to state a claim, and leave to amend is `freely given
      when justice so requires.'" Id. (quoting Fed. R.Civ.P. 15(a)).

            Likewise in United States of America ex rel. D’Agostino v. EV3, Inc.

      No. 14-2145 (1st. Cir, September 30, 2015), the Court granted a Motion to

      Amend when the Motion to Amend was not consistent with the briefing

      Order:

      the fact that the relator sought to amend only a few days before his
      opposition to the dismissal motions was due does not justify a different
      result. At any rate, Rule 15(a)'s leave freely given standard typically applies
      even where a party requests leave to amend after a motion to dismiss has


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      been fully briefed. See, e.g., Palmer v. Champion Mortg., 465 F.3d 24, 30
      (1st Cir. 2006).

            The case law thus supported the Plaintiff’s request to amend the

      complaint. Caselaw regarding RESPA claims and the exceptions under 12

      CFR 1024.36 to provide documents which are duplicative or burdensome

      also support the Plaintiff’s position, which the Court did not consider thus

      committing manifest error. In Wilson v. Bank of America, 48 F. Supp. 3d

      787, 807 (E.D. PA, 2014), the Court denied a Motion to Dismiss based on

      the assertion that the information requested and not provided was

      duplicative:


      n this case, Plaintiff has alleged, and Defendant does not dispute, that
      Defendant did not provide all of the information sought in the Request for
      Information, including copies of the servicing logs related to contacts
      between Plaintiff and Defendant or between Plaintiff and
      employees/representatives of Defendant, audio files of telephone calls with
      Plaintiff, documents submitted by Plaintiff in support of her request for loan
      modification, property inspection reports, and invoices from Defendant's
      foreclosure firm. Defendant argues, however, that it properly asserted
      delineated exceptions to its obligations—i.e., that the request for materials
      was overbroad, unduly burdensome, and sought duplicative, confidential,
      proprietary, privileged, or irrelevant information—pursuant to 12 C.F.R. §
      1024.36(f). Having put forth such exceptions, Defendant asserts that it then
      bore no burden to search for materials and produce them or explain their
      unavailability. (Def.'s Mot. Dismiss 8.)

      Regulation X, however, changes the requirement imposed on the servicer
      from conducting just an "investigation" for the information to conducting a
      "a reasonable search for the requested information." 12 C.F.R. §
      1024.36(d)(1)(ii). Further, this regulation makes clear that a servicer's duty
      to comply with its response obligations are obviated only "if the

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      servicer reasonably determines that" the documents meet any of the
      enumerated exceptions. 12 C.F.R. § 1024.36(f)(1) (emphasis added).
      Plaintiff pleads that Defendant did not reasonably determine that the
      documents were in the excluded categories (unduly burdensome, overbroad,
      irrelevant, confidential, privileged, or proprietary), 807*807 and that, in fact,
      many of the requested documents were available and were within the
      categories of documents that a servicer should provide. (Compl. ¶ 101.)
      Taking such allegations as true, the Court again cannot dismiss this claim.

      In short, the Court finds that Plaintiff's RESPA claims (Counts I and II)
      plead plausible claims for relief. While the law is clearly unsettled as to the
      scope of Defendant's duties under 12 U.S.C. § 2605 as amended by
      Regulation X, it appears that Regulation X requires more than mere
      procedural compliance with the enumerated duties. In light of the standard
      of review under Rule 12(b)(6) and the well-pled allegations of Plaintiff's
      Complaint, the Court must deny Defendant's Motion to Dismiss these
      claims.

      In Zinneti v. Deutsche Bank National Trust Company, C.A. No. 19-1279-

      LPS-JLH. (D. Delaware, January 24, 2020) ,the Court denied a Motion to

      Dismiss regarding alleged duplicative requests because there had not been

      previous compliance:


      cwen is correct that RESPA and Regulation X do not require it to respond to
      a duplicative notice of error or request for information. For example, under
      12 C.F.R. § 1024.35(g), a loan servicer is not required to conduct a
      reasonable investigation if it "reasonably determines" that "[t]he asserted
      error is substantially the same as an error previously asserted by the
      borrower for which the servicer has previously complied with its obligation
      to respond." 12 C.F.R. § 1024.35(g)(1)(i). However, Regulation X requires a
      loan servicer to notify the borrower if the servicer determines that it need not
      respond to a request because it is duplicative. 12 C.F.R. § 1024.35(g)(2)
      (duplicative notice of error); see also 12 C.F.R. § 1024.36(f)(2) (duplicative
      request for information).



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      In this case, Ocwen treated at least one of Plaintiffs' requests within the
      limitations period as non-duplicative. Ocwen's September 25, 2018 response
      to Plaintiffs' August 27, 2018 notice of error does not state that the notice
      was duplicative. (D.I. 24 at 307-327 (Ex. Y-i-iii).) Instead, it states that
      Plaintiffs' "letter is a `qualified written request' in compliance with" RESPA.
      (Id. at 323.) At oral argument, counsel for Ocwen acknowledged that a
      mortgage servicer must notify a borrower in accordance with 12 C.F.R. §
      1024.35(g)(2) that it has determined that it need not respond to a notice of
      error; otherwise, it must conduct a reasonable investigation in accordance
      with 12 C.F.R. § 1024.35(e). (Tr. 16:7-17:20.) Accordingly, Ocwen was
      required to conduct a reasonable investigation at least as to Plaintiff's August
      27, 2018 notice of error.

            Bank of America did not conduct a reasonable investigation as to any

      of the Notices of Error and merely sent a generic response alleging all

      exemptions, whether they were applicable or not. Its sole response to these

      Notices of Error was the following language in the November 2, 2018 letter:

      We researched your account and have determined that no corrections are

      required in response to your initial request.

      We previously responded to this matter. Please find the enclosed responses

      sent on October 22, 2018 and January 1, 2018.

      These responses did not provide the information requested and did not even

      address the issue of duplicative request for information, because Bank of

      America never complied with all the initial requests. It provided part of the

      servicing file, but not all the information requested and provided none of the

      other requests.



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            The purpose of this Memorandum is to demonstrate that the granting

      of the Motion to Dismiss constituted manifest error and did not address the

      issues raised in the complaint as to Bank of America’s lack of compliance

      with its obligations under Regulation X. The Court is requested to amend

      and alter its Judgment since manifest error occurs when factual

      determination is made of disputed issues in a Motion to Dismiss.




                                                  DOLORES CEPEDA
                                                  By her attorney,


      October 26, 2020                            /s/ John B. Ennis
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                          Certificate of Service



      I hereby certify that I emailed a copy of this Memorandum of Law to Patrick
      T. Uiterwyk and Justin Shireman on October 26, 2020 and by electronic
      filing.

      /s/ John B. Ennis




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